Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Even Stevens Idaho, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1225 E. Fort Union Blvd. Suite 200                              2030 S. 900 E. Suite A
                                  Midvale, UT 84047                                               Salt Lake City, UT 84105
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Salt Lake                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  815 W. Bannock St. Boise, ID 83702
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Even Stevens Idaho, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   Even Stevens Idaho, LLC                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Even Stevens Idaho, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 21, 2019
                                                  MM / DD / YYYY


                             X   /s/ Brooks Pickering                                                     Brooks Pickering
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   Manager




18. Signature of attorney    X   /s/ Pernell W. McGuire                                                    Date March 21, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Pernell W. McGuire 015909
                                 Printed name

                                 Davis Miles McGuire Gardner, PLLC
                                 Firm name

                                 40 E. Rio Salado Parkway, Suite 425
                                 Tempe, AZ 85281
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (480) 733-6800                Email address      azbankruptcy@davismiles.com

                                 015909 AZ
                                 Bar number and State




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Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:
 Debtor name Even Stevens Idaho, LLC
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Ada County                                                                                                                                                                   $287.50
 Recorder
 200 W. Front St.,
 #1207
 Boise, ID 83702
 AmTrust North                                                                                                                                                              $4,304.00
 America
 P.O. Box 6939
 Cleveland, OH 44101
 BlueFin                                                                                Disputed                                                                            $2,074.12
 P.O. Box 1960
 Clearfield, UT 84089
 Cintas Corporation                                                                                                                                                           $945.60
 800 Cintas
 Boulevard, PO Box
 625737
 Cincinnati, OH
 45262-5737
 Coca Cola North                                                                                                                                                            $1,280.00
 America
 PO Box 102703
 Atlanta, GA 30368
 DocuMart                                                                                                                                                                   $1,665.17
 1615 W 2200 S , STE
 C
 Salt Lake City, UT
 84119
 Even Stevens                                                                                                                                                                 $243.18
 Colorado, LLC
 2030 S. 900 E. Suite
 A
 Salt Lake City, UT
 84105




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Even Stevens Idaho, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Even Stevens                                                                                                                                                           $797,223.45
 Sandwiches, LLC
 2030 S. 900 E, Suite
 A
 Salt Lake City, UT
 84105
 Evolution Pressure                                                                                                                                                           $400.00
 Washing
 6288 N. Spurwing
 Way
 Meridian, ID 83646
 Flying M Cofee                                                                                                                                                               $675.00
 1314 2nd St S
 Nampa, ID 83651
 GP- General Parts                                                                                                                                                            $335.00
 Group
 PO Box 9201, MI10
 Minneapolis, MN
 55480-9201
 Idaho Power                                                     Utility                                                                                                      $790.06
 PO Box 70
 Boise, ID 83707
 Intermountain Gas                                               Utility services                                                                                             $348.25
 555 S. Cole Rd.
 Boise, ID 83709
 La Barba Coffee                                                                                                                                                              $719.20
 3340 S 300 W
 Salt Lake City, UT
 84115
 Master Rooter                                                                                                                                                              $1,477.65
 Service, Inc.
 P.O. Box 208
 Meridian, ID 83680
 My Family Tradition                                                                                                                                                          $368.00
 Sauce & Rub Co.
 701 E. 44th Street,
 Unit 11
 Boise, ID 83714
 Norco, Inc.                                                                                                                                                                  $389.72
 P.O.Box 413124
 Salt Lake City, UT
 84141
 Strategic                                                       consulting                                                                                                 $7,750.65
 Technology                                                      services
 1103 S. Orem Blvd.
 Orem, UT 84058
 Swire                                                                                                                                                                        $433.81
 PO Box 413121
 Kansas City, MO
 64141




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Even Stevens Idaho, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sysco                                                           Goods and                                                                                                $98,115.46
 Intermountain Inc.                                              services
 9494 South
 Prosperity Rd.
 West Jordan, UT
 84081




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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ADA COUNTY RECORDER
200 W. FRONT ST., #1207
BOISE ID 83702


AMTRUST NORTH AMERICA
P.O. BOX 6939
CLEVELAND OH 44101


BLUEFIN
P.O. BOX 1960
CLEARFIELD UT 84089


CENTURY LINK ATTN: LEGAL DEPARTMENT
1801 CALIFORNIA STREET
SUITE 900
DENVER CO 80202


CINTAS CORPORATION
800 CINTAS BOULEVARD, PO BOX 625737
CINCINNATI OH 45262-5737


COCA COLA NORTH AMERICA
PO BOX 102703
ATLANTA GA 30368


CRAIG STEIN BEVERAGE
4719 MARKET STREET, SUITE 100
BOISE ID 83705


DOCUMART
1615 W 2200 S , STE C
SALT LAKE CITY UT 84119


ECOLAB, INC.
24198 NETWORK PLACE
CHICAGO IL 60673-1241


EVEN STEVENS COLORADO, LLC
2030 S. 900 E. SUITE A
SALT LAKE CITY UT 84105


EVEN STEVENS SANDWICHES, LLC
2030 S. 900 E, SUITE A
SALT LAKE CITY UT 84105


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EVOLUTION PRESSURE WASHING
6288 N. SPURWING WAY
MERIDIAN ID 83646


FLYING M COFEE
1314 2ND ST S
NAMPA ID 83651


GP- GENERAL PARTS GROUP
PO BOX 9201, MI10
MINNEAPOLIS MN 55480-9201


IDAHO POWER
PO BOX 70
BOISE ID 83707


INTERMOUNTAIN GAS
555 S. COLE RD.
BOISE ID 83709


LA BARBA COFFEE
3340 S 300 W
SALT LAKE CITY UT 84115


MASTER ROOTER SERVICE, INC.
P.O. BOX 208
MERIDIAN ID 83680


MY FAMILY TRADITION SAUCE & RUB CO.
701 E. 44TH STREET, UNIT 11
BOISE ID 83714


NORCO, INC.
P.O.BOX 413124
SALT LAKE CITY UT 84141


RONIN
1402 S. DIVISION AVE
BOISE ID 83706


SPORTS MEDIA
1101 W. 34TH ST., #212
AUSTIN TX 78705



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STANDARD RESTAURANT SUPPLY
879 S 4400 W
SALT LAKE CITY UT 84104


STRATEGIC TECHNOLOGY
1103 S. OREM BLVD.
OREM UT 84058


SUEZ WATER IDAHO
8248 W. VICTORY RD.
BOISE ID 83709


SWIRE
PO BOX 413121
KANSAS CITY MO 64141


SYSCO INTERMOUNTAIN INC.
9494 SOUTH PROSPERITY RD.
WEST JORDAN UT 84081




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                                                               United States Bankruptcy Court
                                                                         District of Arizona
 In re      Even Stevens Idaho, LLC                                                                        Case No.
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Even Stevens Idaho, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Even Stevens Sandwiches, LLC
 2030 S. 900 E, Suite A
 Salt Lake City, UT 84105




    None [Check if applicable]




 March 21, 2019                                                      /s/ Pernell W. McGuire
 Date                                                                Pernell W. McGuire 015909
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Even Stevens Idaho, LLC
                                                                     Davis Miles McGuire Gardner, PLLC
                                                                     40 E. Rio Salado Parkway, Suite 425
                                                                     Tempe, AZ 85281
                                                                     (480) 733-6800 Fax:(480) 733-3748
                                                                     azbankruptcy@davismiles.com




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